       TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN


                       JUDGMENT RENDERED AUGUST 27, 2024



                                    NO. 03-23-00114-CR


                              Francisco Esquivel, III, Appellant

                                               v.

                                 The State of Texas, Appellee




           APPEAL FROM THE 207TH DISTRICT COURT OF COMAL COUNTY
                  BEFORE JUSTICES BAKER, TRIANA, AND SMITH
                    AFFIRMED -- OPINION BY JUSTICE SMITH




This is an appeal from the judgment of conviction entered by the trial court. Having reviewed

the record and the parties’ arguments, the Court holds that there was no reversible error in the

trial court’s judgment of conviction. Therefore, the Court affirms the trial court’s judgment of

conviction. Because appellant is indigent and unable to pay costs, no adjudication of costs

is made.
